
67 So. 3d 428 (2011)
Dady MERCY, Appellant,
v.
STATE of Florida, Appellee.
No. 4D10-347.
District Court of Appeal of Florida, Fourth District.
August 10, 2011.
Dady Mercy, Quincy, pro se.
Pamela Jo Bondi, Attorney General, Tallahassee, and Myra J. Fried, Assistant Attorney General, West Palm Beach, for appellee.
PER CURIAM.
Affirmed without prejudice to seek available relief in the trial court. See Steele v. Kehoe, 747 So. 2d 931, 934 (Fla. 1999) (authorizing a belated post-conviction motion where post-conviction counsel's actions deprive the defendant of the ability to seek rule 3.850 relief).
POLEN, DAMOORGIAN and CIKLIN, JJ., concur.
